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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,

               Plaintiff,
        vs.                                   Case No. 1:18-cr-00258-BLW

PAVEL BABICHENKO,
GENNADY BABITCHENKO,                          GOVERNMENT’S NOTICE
PIOTR BABICHENKO,                             OF INTENT TO INTRODUCE
TIMOFEY BABICHENKO,
                                              EXPERT TESTIMONY REGARDING
KRISTINA BABICHENKO,
NATALIE BABICHENKO,                           CUSTOMS AND BORDER
DAVID BIBIKOV,                                PROTECTION
ANNA IYERUSALIMETS,
MIKHAIL IYERUSALIMETS,

               Defendants.



      Pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G), the United States of

America, by and through Bart M. Davis, United States Attorney for the District of Idaho,

and Katherine Horwitz and Christian Nafzger, the undersigned Assistants United States

Attorney, and Timothy Flowers, United States Department of Justice Trial Attorney, files
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this written summary of expert testimony that it intends to introduce under Federal Rules of

Evidence 702, 703, and 705.1 The United States intends to call the following witnesses as

experts of the Department of Homeland Security U.S. Customs and Border Protection

(CBP) inspection, seizure, fines, and forfeiture processes regarding counterfeit products.

                               INSPECTION AND SEIZURE

       Alan Aprea

       The United States may call Alan Aprea as an expert in the inspection and seizure of

imported counterfeit electronic products. As the Branch Chief of the Electronics Center of

Excellence and Expertise Los Angeles field office, Mr. Aprea is charged with overseeing the

regulation and facilitation of international trade, collecting import duties, and enforcing

regulations governing trade and customs. Mr. Aprea is expected to explain how CBP

identifies shipments of counterfeit electronic products at its port of entries, when such

contraband is seized, and why such contraband is seized. Mr. Aprea is likewise expected to

testify to his participation in the Enforcement Division, which supports civil and criminal

investigations of intellectual property right infringement, including strategies to prevent

smuggling of counterfeit goods. He will also generally explain the following processes:

when and why goods are targeted and presented for inspection; when and why goods are

detained; notices to importers, rights holders, and brokers; the inventory, appraisal, and

seizure of the goods; and, finally, transference and storage of seized property.




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       The Government respectfully reserves the right to supplement this notice as required
during the pendency of this litigation.

GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY REGARDING CUSTOMS
AND BORDER PROTECTION—2
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       Eugene J. Matho Jr.

       The United States may call Eugene J. Matho Jr. as an expert in the inspection and

seizure of imported counterfeit electronic products. As the Assistant Area Port Director for

the Port of Cleveland, Mr. Matho is charged with overseeing the regulation and facilitation

of international trade, collecting import duties, and enforcing regulations governing trade

and customs. Mr. Matho is expected to explain how CBP identifies international shipments

of counterfeit products at its port of entries and when such contraband is seized. He will

also generally explain the following processes: when and why goods are targeted and

presented for inspection; when and why goods are detained; notices to importers, rights

holders, and brokers; the inventory, appraisal, and seizure of the goods; and, finally,

transference and storage of seized property.

                                FINES AND FORFEITURE

       The United States may call Brian Giese as an expert in CBP fines and forfeiture

processes. Mr. Giese has worked for CBP since 2008 in various capacities addressing the

fines and forfeiture of seized products. Currently, he is a Fines, Penalties, and Forfeiture

(“FPF”) Officer overseeing cases wherein the violator disputes the action taken by CBP. He

is expected to describe the general process of an FPF dispute, including participation by the

rights holder and the general procedures used for the dispute. Additionally, Mr. Giese will

explain the outcome of FPF disputes, including the seizure and forfeiture of goods, as well

as any fines or penalties assessed against the violator. Finally, he will explain the final

disposition of infringing property, such as destruction.




GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY REGARDING CUSTOMS
AND BORDER PROTECTION—3
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         REQUEST FOR DEFENDANTS’ EXPERT WITNESS DISCLOSURE

       This disclosure is made pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G).

Pursuant to Federal Rule of Criminal Procedure 16(b)(1)(C), the United States hereby

requests a reciprocal timely disclosure by the Defendants of any testimony that the

Defendants intend to admit at trial, under Rules 702, 703, or 705 of the Federal Rules of

Evidence, that relates to any of the topics summarized in this expert witness notice.



                             Respectfully submitted this 2nd day of January, 2020.


                                         BART M. DAVIS
                                         UNITED STATES ATTORNEY
                                         By:

                                         /s/ Katherine Horwitz
                                         KATHERINE HORWITZ
                                         Assistant United States Attorney




GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY REGARDING CUSTOMS
AND BORDER PROTECTION—4
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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 2nd day of January, 2020, the foregoing

GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE EXPERT TESTIMONY

REGARDING CUSTOMS AND BORDER PROTECTION was filed electronically

through the CM/ECF system, which caused the following counsel to be served by

electronic means, as more fully reflected on the Notice of Electronic Filing:


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GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY REGARDING CUSTOMS
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                                           /s/ Katherine Horwitz
                                           Assistant United States Attorney




GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY REGARDING CUSTOMS
AND BORDER PROTECTION—6
